 Case 1:23-cr-20638-TLL-PTM ECF No. 20, PageID.61 Filed 04/25/24 Page 1 of 1




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  NORTHERN DIVISION

UNITED STATES OF AMERICA,

                       Plaintiff,                            Case No. 1:23-cr-20638

v.                                                           Honorable Thomas L. Ludington
                                                             United States District Judge
CONSUELO JOSEPHINA GONZALEZ,
                                                             Honorable Patricia T. Morris
                  Defendant.                                 United States Magistrate Judge
________________________________________/

     ORDER ADOPTING REPORT AND RECOMMENDATION, ACCEPTING GUILTY
       PLEA, AND TAKING RULE 11 PLEA AGREEMENT UNDER ADVISEMENT

        On April 4, 2024, Magistrate Judge Patricia T. Morris conducted a plea hearing upon

Defendant Consuelo Josephina Gonzalez’s consent. See ECF Nos. 14; 15; 16. On April 9, 2024

Judge Morris issued a report recommending the acceptance of Defendant’s guilty plea. ECF No.

19. Judge Morris gave the Parties 14 days to object, but they did not do so. They have therefore

forfeited their right to appeal Judge Morris’s findings that Defendant was competent to enter a plea

and did so knowingly, voluntarily, and with a basis in fact. See FED. R. CRIM. P. 11(b); Berkshire

v. Dahl, 928 F.3d 520, 530–31 (6th Cir. 2019) (citing Thomas v. Arn, 474 U.S. 140, 149 (1985)).

        Accordingly, it is ORDERED that Judge Morris’s Report and Recommendation, ECF No.

19, is ADOPTED.

        Further, it is ORDERED that Defendant’s guilty plea is ACCEPTED, and that the Rule

11 Plea Agreement, ECF No. 17, is TAKEN UNDER ADVISEMENT.


        Dated: April 25, 2024                                s/Thomas L. Ludington
                                                             THOMAS L. LUDINGTON
                                                             United States District Judge
